575 F.2d 1085
    200 U.S.P.Q. 10
    Anthony P. CATANZARO, Appellant,v.INTERNATIONAL TELEPHONE &amp; TELEGRAPH, Motorola, Inc., RadioCorporation of America, Masco Corporation, Appellee.Edward T. MOLINARO and Anthony P. Catanzarov.RADIO CORPORATION OF AMERICA, Motorola, Inc. and MidlandCorp., Appellees.Appeal of Anthony P. CATANZARO.
    Nos. 77-1844, 77-1878.
    United States Court of Appeals,Third Circuit.
    Argued March 30, 1978.Decided May 1, 1978.
    
      Peter G. Loftus, Oliver, Price &amp; Rhodes, Scranton, Pa., for appellant in 77-1844 and 77-1878.
      George A. Gust, Robert G. Irish, Gust, Irish, Jeffers &amp; Rickert, Fort Wayne, Ind., Leon E. Redman, Taylor, Mich., for appellees in No. 77-1844.
      Robert L. Harmon, John L. Cline, Hume, Clement, Brinks, Williams &amp; Olds, Chicago, Ill., for Motorola, Inc., in 77-1878.
      Rodney M. Layton, Richards, Layton &amp; Finger, Wilmington, Del., for Radio Corp. of America in 77-1878.
      Jacob C. Kellem, Connolly, Bove &amp; Lodge, Wilmington, Del., Morris Relson, Darby &amp; Darby, New York City, for Midland Corp. in 77-1878.
      Before HUNTER, GARTH and HIGGINBOTHAM, Circuit Judges.
      OPINION
      PER CURIAM:
    
    In these cases, we have:
    
      1
      1) reviewed the records of the proceedings below;
    
    
      2
      2) reviewed the briefs and appendices of the parties filed in this court;
    
    
      3
      3) carefully examined the opinions of Judge Stapleton, dated October 29, 1976 (423 F.Supp. 415 (D.Del.1976)) and April 26, 1977 (unpublished), together with the letter forwarded by Anthony Catanzaro to Judge Stapleton under date of November 27, 1976, in which Mr. Catanzaro refused to participate in any district court proceedings; waived objection to dismissal of his actions; and stated that thereafter he and not the district court judge would "cal(l) 'all the shots' " and "dictat(e) the terms (of the litigation)."
    
    
      4
      4) heard oral arguments by the parties in both appeals;
    
    
      5
      5) reviewed supplemental papers submitted by appellant, purporting to act in a pro se capacity, including:
    
    
      6
      a) letter dated April 1, 1978;
    
    
      7
      b) statement, dated April 4, 1978, entitled
    
    
      8
      "JUSTICE"
    
    
      9
      (meaningful term to some)
    
    
      10
      (mythical term to others)
    
    
      11
      YOU BE THE JUDGE;
    
    
      12
      c) motion to file supplemental brief and grounds in support, dated April 5, 1978;
    
    
      13
      d) letter dated April 6, 1978.
    
    
      14
      The record of each of the proceedings below amply demonstrates that the contentions which were raised there and repeated here by the appellant are without merit.  Accordingly, we approve Judge Stapleton's well-reasoned opinions insofar as they apply to these appeals.  We do not, however, speak to any aspect of the judgments of the district court or the opinions on which they are based which do not pertain to the parties or the issues in these appeals.  In a related proceeding in which Masco Corp. is the appellant at 77-1845, we have entered a separate summary order which affirms the judgment of the district court in that proceeding.
    
    
      15
      The judgments of the district court at 77-1844 and 77-1878 will be affirmed.
    
    